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 2                               UNITED STATES DISTRICT COURT
 3                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 4                                      OAKLAND DIVISION
 5
     ESTHER DARLING, et al.,                            Case No: C 09-3798 SBA
 6
                   Plaintiffs,                          ORDER ACCEPTING REPORT
 7                                                      AND RECOMMENDATION OF
           vs.                                          MAGISTRATE JUDGE
 8
     TOBY DOUGLAS, Director of the                      Dkt. 522, 583
 9 Department of Health Care Services, et al.,

10                 Defendants.
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13          The Court previously referred Plaintiffs’ Motion for Enforcement of Stipulated
14   Judgment and for Appointment of Special Master (Dkt. 522) to Magistrate Judge
15   Jacqueline Corley (“the Magistrate”) for findings and recommendations. Dkt. 460. On
16   November 20, 2012, the Magistrate issued her report and recommendation in which she
17   recommended denying Plaintiffs’ motion. Dkt. 583, 584.
18          Any objections to a report and recommendation must be filed within fourteen days
19   of receipt thereof. Fed. R. Civ. P. 72(b); 28 U.S.C. § 636(b)(1); Civ. L.R. 72-2, 72-3. The
20   district court must “make a de novo determination of those portions of the report to which
21   objection is made,” and “may accept, reject, or modify, in whole or in part, the findings or
22   recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1); see also Civ. L.R.
23   72-3(a) (requiring that any objections be accompanied by a motion for de novo
24   determination).
25          The deadline to file an objection to the report and recommendation was December 4,
26   2012. See Fed. R. Civ. P. 6(a)(1), 72(b). To date, no objections have been filed in this
27   case. In the absence of a timely objection, the Court “need only satisfy itself that there is
28   no clear error on the face of the record in order to accept the recommendation.” Fed. R.
        Case 4:09-cv-03798-SBA Document 585 Filed 03/08/13 Page 2 of 2



 1   Civ. P. 72, Advisory Committee Notes (1983) (citing Campbell v. U.S. Dist. Court, 501
 2   F.2d 196, 206 (9th Cir. 1974)); see also United States v. Reyna-Tapia, 328 F.3d 1114, 1121
 3   (9th Cir. 2003) (“The statute [28 U.S.C. § 636(b)(1)(C)] makes it clear that the district
 4   judge must review the magistrate judge’s findings and recommendations de novo if [an]
 5   objection is made, but not otherwise.”) (en banc). The Court has reviewed the record on its
 6   face and finds no clear error. Accordingly,
 7          IT IS HEREBY ORDERED THAT the Magistrate’s report and recommendation is
 8   ACCEPTED and shall become the Order of this Court. Plaintiffs’ Motion for Enforcement
 9   of Stipulated Judgment and for Appointment of Special Master to Magistrate Judge is
10   therefore DENIED. This Order terminates Docket 522 and 583.
11          IT IS SO ORDERED.
12   Dated: March 8, 2013                                _______________________________
                                                         SAUNDRA BROWN ARMSTRONG
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                                                         United States District Judge
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